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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO


  Civil Action No. 15-cv-01750-RBJ-CBS

  JOHN A. CLAICE,

                        Plaintiff,
  v.

  P.C. DEPUTY VERMILLO,

                        Defendant


                                     ORDER OF DISMISSAL


         THE COURT, having reviewed Plaintiff’s Motion to Dismiss Case [Doc. #25] and

  Defendant’s Stipulation of Dismissal, and pursuant to Fed. R. Civ. P. 41(a)(2),

         HEREBY ORDERS dismissal of this case without prejudice.

         Done this 15th
                   ____ day of ____________,
                                March        2016.


                                               BY THE COURT:



                                               _______________________________
